           Case 2:17-cr-00101-WFN           ECF No. 608   filed 12/06/17     PageID.1950 Page 1 of 3
                                       UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF WASHINGTON
MATTHEW L. THOMPSON                              PROBATION OFFICE                                       BRANCH OFFICES

                                                                                                        FEDERAL BUILDING
   CHIEF PROBATION OFFICER
           Thomas S. Foley
                                                  December 5, 2017                                    25 S. 3rd Street, Room 326
       United States Courthouse                                                                             PO BOX 1791
     920 W Riverside, Room 540                                                                        YAKIMA, WA 98907-1791
            PO BOX 306                                                                            (509) 574-5535 / fax (509) 574-5539
                                                                           FILED IN THE
    SPOKANE, WA 99210-0306                                             U.S. DISTRICT COURT
 (509) 742-6300 / fax (509) 742-6339                             EASTERN DISTRICT OF WASHINGTON         FEDERAL BUILDING
                                                                                                       825 Jadwin Ave, Suite 170
                                                                                                     RICHLAND, WA 99352-0446
REPLY TO    Spokane                                               Dec 06, 2017                    (509) 943-8130 / fax (509) 943-8139


                                                                      SEAN F. MCAVOY, CLERK




         Honorable John T. Rodgers
         United States Magistrate Judge
         Thomas S. Foley U.S. Courthouse
         P.O. Box 1493
         Spokane, Washington 99210
                                                     RE: FEDELE, Trevor Edward
                                                     Docket No.: 2:17CR00101-WFN-19
                                                     Request to Modify Condition of Pretrial
                                                     Release Supervision


         Dear Judge Rodgers:

         On June 15, 2017, Mr. Fedele appeared before Your Honor for the purpose of an initial
         appearance after being arrested on a criminal complaint related to U.S. District Court,
         Eastern District of Washington, case number 2:17CR00107-WFN-4. The government
         filed a motion for detention, and Mr. Fedele requested a probable cause and bail hearing.
         Subsequently, Mr. Fedele was remanded to custody pending further order of the Court.

         On June 19, 2017, Mr. Fedele appeared before the Court for the purpose of a bail hearing.
         The government agreed to Mr. Fedele’s release under conditions of pretrial release
         supervision. Subsequently, the Court released Mr. Fedele under conditions of pretrial
         release supervision that included global position satellite (GPS) monitoring.

         Since his release from custody, the U.S. Probation Office in the District of Idaho has
         provided courtesy supervision of Mr. Fedele.

         On July 14, 2017, Mr. Fedele appeared before Your Honor for the purpose of an initial
         appearance in the instant federal matter. The Court ordered Mr. Fedele remain released
         under conditions previously imposed in case number 2:17CR00107-WFN-4.

         On July 26, 2017, the indictment in case number 2:17CR00107-WFN-4 was dismissed.
         On October 6, 2017, the Honorable James P. Hutton, U.S. Magistrate Judge, modified
         Mr. Fedele’s conditions of pretrial release supervision to allow discretion for the U.S.
Case 2:17-cr-00101-WFN       ECF No. 608     filed 12/06/17   PageID.1951 Page 2 of 3
December 5, 2017
Page 2


Probation Office to monitor Mr. Fedele either through electronic monitoring or GPS
monitoring.

Currently, Mr. Fedele is scheduled for a change of plea hearing before the Honorable
Wm. Fremming Nielsen, Senior U.S. District Judge, on December 13, 2017.

The purpose of this letter is to request a modification of Mr. Fedele’s conditions of
pretrial release supervision.

Mr. Fedele has been under the supervision of the U.S. Probation Office in the District of
Idaho. During that time, he has been monitored by either GPS or radio frequency
electronic monitoring equipment. According to the supervising U.S. probation officer in
the District of Idaho, Mr. Fedele has complied with the conditions of pretrial release
supervision. Therefore, the undersigned officer believes GPS and/or electronic
monitoring is no longer necessary to assure safety to the community or risk of
nonappearance.

The undersigned officer contacted the assistant U.S. attorney and defense counsel
regarding the removal of the conditions related to GPS and electronic monitoring.
Neither party objects to the removal of the GPS and electronic monitoring conditions.

Should the Court have any further questions, please contact the undersigned officer.

                                         Respectfully submitted,

                                         Matthew L. Thompson
                                         Chief U.S. Probation Officer

                                         s/Erik Carlson                       12/05/2017
                                         Erik Carlson                            Date
                                         U.S. Probation Officer

Approved By:

s/Tommy Rosser            12/05/2017
Tommy Rosser                    Date
Supervisory U.S. Probation Officer
Case 2:17-cr-00101-WFN      ECF No. 608    filed 12/06/17   PageID.1952 Page 3 of 3
December 5, 2017
Page 3


[ x]   Court orders the removal of the GPS and electronic monitoring conditions
[ ]    Court denies the modification request
[ ]    Other



                                                             Signature of Judicial Officer

                                                               December 6, 2017
                                                             Date
